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IN THE UNITED STATES DISTRICT COURT |

FOR THE DISTRICT OF TEXAS AUG FIMO} pen
Bd PE PH a 23
Joe Hunsinger oe bpery ms 4 - 4 lig
Plaintiff Pro-Se’ Case No: 3-13-CV-4405-G.....

V.
AMERICAN CORADIUS INTERNATIONAL, LLC.

STIPULATED OF DISMISSAL FOR AMERICAN CORADIUS INTERNATIONAL, LLC.

It is hereby stipulated and agreed by Plaintiff and the Defendant American
Coradius International, LLC. that the parties hereby stipulate to the dismissal of
American Coradius International, LLC. with prejudice and request that a
judgment of dismissal for American Coradius International, LLC. to entered in the

above entitled action pursuant hereto.

Respectfully submitted January X | , 2014.

iA

Joe sizer —
7216-€-F. Hawn Frwy.
Dallas, Texas 75217
Joe75217@gmail.com
214-682-7677

CERTIFICATE OF SERVICE

[hereby certify that a copy of the forgoing has been served upon the Defendant’s attorney via

regular mail on January , 2014

Dil
Joe i ger
7216 C.F. Hawn Frwy.
Dallas, Texas 75217
Joe75217@gmail.com
214-682-7677
